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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS

  GEORGE ANIBOWEI,                                    §
                                                      §
                                         Plaintiff,   §
                                                      §
  v.                                                  §   Civil Action No. 3:16-CV-3495-D
                                                      §
  LORETTA LYNCH, et al.,                              §
                                                      §
                                      Defendants.     §

                                          ORDER OF REFERENCE

       Pursuant to 28 U.S.C. § 636(b)(1)(B), defendants’ April 10, 2017 motion to dismiss plaintiff's first

amended complaint is REFERRED to United States Magistrate Judge Irma Carrillo Ramirez for

recommendation. She may conduct a hearing if she determines that a hearing is necessary.

       This order of reference also prospectively refers all procedural motions (e.g., to modify briefing

limitations, to supplement a motion, or for an expedited hearing) hereafter filed by a party who supports

or opposes the referred motion, and that relate to the United States Magistrate Judge’s resolution of the

motion.


          SO ORDERED.

          April 11, 2017.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             UNITED STATES DISTRICT JUDGE
